  Case 1:21-cr-00393-DNH Document 56-1 Filed 03/12/24 Page 1 of 16




Mjd210eKd69BxG41sJD
       Case 1:21-cr-00393-DNH Document 56-1 Filed 03/12/24 Page 2 of 16




Correspondence - mjd210eKd69BxG41sJD(Signup: 2021-
07-16) - blacknew
Report generated at 10-09-2021 12:00:32
Signup: 2021-07-16
Last: 2021-08-12
On Site: 27 days
Wallet:IF8LFxDjJMUwCBjcjyWwiUAVy2zH5EJ9UG
Wallet: 13KEfXijWBcm6M7mXGYNAxmiPSs07hg3ui
Max Balance: 0


Number of correspondents:4

To-From Thaid
2021-07-1611           From: mjd210eKd69BxG41sJDTo: Thaid Subject: A Couple
Questions
1. You seem very active on IKs... are you an admin here?

2. If I have two targets that I need it to look like an accident, would it be the $9k x2 $18k or
would there be any discount if these 2 targets reside at the same address? I was just
wondering how much btc I would need then.

2021-07-16         From: mjd210eKd69BxG41sJDTo: Thaid Subject: Please
disregard/ignore my First Messge

I just found the answers, lookingthrough Forum messages going back to January.

Sorry to have bothered you.

2021-07-18             From: Thaid To: mjd210eKd69BxG41sJDSubject: Re: A Couple
Questions
Would be 9k x 2 Witherspoon a discount it would be 18000 Witherspoon discont 15000

 Is this ok ?

  I am not an admin but i am an active hitman

2021-07-18             From: Thaid To: mjd210eKd69BxG41sJD Subject: Re: A Couple
Questions

The two killings would be 9k x 2 With a discount it would be 15000
        Case 1:21-cr-00393-DNH Document 56-1 Filed 03/12/24 Page 3 of 16




Is this ok ?

I am not an admin but i am an active

2021-07-19            From: mjd210eKd69BxG41sJDTo: Thaid Subject: Re: Re: A Couple
Questions

That was the price I was hoping for.
I am working on getting the coins put together, and will probably be ready to order in a few days.

I was planning to use DarkEscrow for payment.

Would you recommend I use the form-submission page, so the admin is aware of the order?

2021-07-20       From: Thaid To: mjd210eKd69BxG41sJDSubject: Re: Re: Re: A
Couple Questions

yes, i recommend you use the form submission page so admin sees it.

 about escrow, please provide link of the bitcoin escrow you want to use

 yes, ordering in a few days is ok, as I will be available to do the job

2021-07-2811           From: mjd210eKd69BxG41sJDTo: Thaid Subject: Accident Needed

Good day Thaid!
I have been watching this site for a while and it looks like you are probably one of the most
active members on this site. I reached out to you a couple weeks back about needing an
accident to happen to a husband-wife in NY, US. Is this something you can take?

2021-07-2904:11        From: Thaid To: mjd210eKd69BxG41sJD Subject: Re: Accident
Needed

Yes, I can take this and do the job with no problems. What is your budget?

2021-07-2911           From: Thaid To: mjd210eKd69BxG41sJDSubject: Re: Accident
Needed

Yes we can do that. Do you mean you want both dead like accident?
We do it for 9000$ per kill looking like accident so if you want both dead it will cost 18000$

2021-08-05             From: mjd210eKd69BxG41sJDTo: Thaid Subject: Admin Not
Responding

Good day Thaid.
        Case 1:21-cr-00393-DNH Document 56-1 Filed 03/12/24 Page 4 of 16




I submitted a couple orders using the portal, but am not hearing any response back. Do you
know if everything is ok with the admin?

Otherwie, I have a husband/wifethat I need to look like an accident in NY, US.

I have an escrow account w/ the admins address as the recipient, so 1mjust wondering if that
can be used if I place the order directly with you?

2021-08-09             From: mjd210eKd69BxG41sJD To: Thaid Subject: Admin Not Getting
Back to Me

Hey Thaid,

Ive sent my orders directly to the Admin, but he/she is not getting back to me at all. Could I
place the order directly with you?

2021-08-16         From: Thaid To: mjd210eKd69BxG41sJD Subject: Re: Admin Not
Getting Back to Me

Yes, the reason why all peoples didnt sent sny messages is because the communication didnt
worked, now it works and you can do the order with our name

To-From encOd3r
2021-08-06 14:50:00 From: encOd3r To: mjd210eKd69BxG41sJD Subject: Is this site real?

Can you provide details on if this site is real?

2021-08-06             From: mjd210eKd69BxG41sJDTo: encOd3rSubject: Is this site real?

Is this site real?

2021-08-09 09:01       From: mjd210eKd69BxG41sJD To: encOd3r Subject: Is this real?

Hello encd3r, I am wondering if you can provide details on if this site is real.

To-From scammer_site
2021-07-28             From: mjd210eKd69BxG41sJD To: scammer_site Subject: More info

Good day!
1mcurious if there was meaning behind your username tag: scammer site.

Are you saying this site is a scam?
       Case 1:21-cr-00393-DNH Document 56-1 Filed 03/12/24 Page 5 of 16




To-From admin
2021-07-20            From: mjd210eKd69BxG41sJDTo: admin Subject: Question about
Motives

Good day Admin!

I have a couple targets husband wife that I am needing removed. However, it is known that
they and I dont quite see eye-to-eye on something. I am a couple days away from submitting
the job as an accident, but before I do, I was wondering, in your experience, even if it is an
obvious accident, what kind of investigation will be ran against me, knowing that we are not on
the best of terms?

I have the $$ in CoinBase, but is there something I can do, to help obfuscate my role in this?
Will agencies be looking into my CoinBase history?

Thank you in advance!

2021-07-20             From: admin To: mjd210eKd69BxG41sJD Subject: Re: Question
about Motives

No cointbase will not be looked into

 We also have built in mixer and all transactions are mixed so that traces are broken between
coinbase and this site

 When an accident happen, the investigationwill be minimu, no checks will be made against
you

  We can do it like this, the hitmanwill steal a car, a truck or something that is heavier, and will
followthe target and crash the car into the target pretend to be a drunk driver that runs away
from the place of the accident

 we will tell you the date in advance of the murder, so you can travel in a differentcity and be in
a place with surveilance cameras

  everything will be looking like a drunk driver stole a car and caused an accident

2021-07-20             From: mjd210eKd69BxG41sJD To: admin Subject: Re: Re: Question
about Motives

They most likely will have 3 children in the car with them... I am really trying to avoid them from
being hurt.
        Case 1:21-cr-00393-DNH Document 56-1 Filed 03/12/24 Page 6 of 16




1mwondering if a mugging-gone-wrong might be an option. Or maybe you have another
suggestion? One of the children is 13 or so, but slow, so maybe his testimony could help avoid
scrutiny/investigation.

They currently live in NY.

Thank you for your quick response.
                                                                                         Question
2021-07-2013:21         From: mjd210eKd69BxG41sJDTo: admin Subject: Re: Re:
about Motives
                                                                                to send it out. I
I have about 17k in coinbase, but am having to wait the 7 days probation period
                                                                              wallet, just in
was wanting to use dark escrow, but was going to send it through my Samurai
case the dark escrow address is flagged.
                                                                               a husband/wife in
Will 17k probably closer to 16k after fees be sufficientto have an accident of
NY? I spoke with Thaind, and they thought 15k would be a good price.

 Thoughts?

 2021-07-20        From: admin To: mjd210eKd69BxG41sJD Subject: Re: Re: Re:
 Question about Motives
                                                                                     is also ok,
 Yes, 16k is sufficient for the accident to happen. Samurai wallet is ok dark escrow
 please create an escrow transaction there and send us the view code.
                                                                                      I dont think
  You can create the escrow transaction now, even if you send funds 7 days later,
 they will delete the transaction instead will be waiting for funds until you send it

 2021-07-20        From: admin To: mjd210eKd69BxG41sJD Subject: Re: Re: Re:
 Question about Motives

 Yes, a mugging gone wrong is a betteroption if the target has kids in the car.

  When the mugging gone wrong happen, they will search for the thief and not for you. You will
 not be checked in any way.

  If you are in a different city at that time, that is even better

 2021-07-20             From: mjd210eKd69BxG41sJDTo: admin Subject: Re: Re: Re: Re:
 Question about Motives

 What is your wallet address? Dark Escrow will need that.

 2021-07-20         From: admin To: mjd210eKd69BxG41sJDSubject: Re: Re: Re: Re:
 Re: Question about Motives
        Case 1:21-cr-00393-DNH Document 56-1 Filed 03/12/24 Page 7 of 16



My wallet address is 128BTrqvivs6g6NpqMfiQdNnrAwnUFh97R

 please give me view code and external escrow address to view transaction before you add
funds to it

once i view transaction using view code, and i confirm is ok, you can add funds to it

2021-07-21         From: mjd210eKd69BxG41sJD To: admin Subject: Re: Re: Re: Re:
Re: Re: Question about Motives

Dark Escrow
http://escrow2m7gowjfzh.onion/

View Code
ksy34z4df2

 2021-07-21         From: admin To: mjd210eKd69BxG41sJD Subject: Re: Re: Re: Re:
 Re: Re: Re: Question about Motives
                                                                             proceed
 I confirm the escrow transaction is ok. Please add funds to it and we can

 2021-07-22            From: admin To: mjd210eKd69BxG41sJD Subject: update in v2

 When checking the escrow transaction you made, we discovered that the escrow address

  http://escrow2m7gowjfzh.onionwas not working any more. We first thought their site is down,
 but then we found out that their address was not working any more because Tor remove
 support for old addresses that are short.

  We contacted tor support and got in touch with other website owners that were using their
 escrow and we found the new address of their site

  http://qbbh5myjw3b610w5axz2clbsuwzivyplf64uxzc7t5kngatzbjljkkqdnnion

  Please book mark their address as it seems the old address is not working

  Because we dint wanted our hitman marketplace address to stop working as well and be
 unreachable, we urged our webmaster IT specialist to upgrade our address from old V2 short to
 the new V3 long address.

  Our new old address is being redirected to the new address. Our smart webmaster knows how
 to do this and he succefully redirected all traffic from old address to the new address for our
 hitman marketplace
        Case 1:21-cr-00393-DNH Document 56-1 Filed 03/12/24 Page 8 of 16




 Unfortunatelythe webmaster of that external escrow seems he doesnt know how to keep old
address active, so you need to bookmark it.

 It was good we discovered old addresses might not work so we could upgrade in time for our
own site

                                                                                 proceed. I
 Please let me know once you put bitcoin to the dark bitcoin escrow, so we can
                                                                                been changed to
checked the view code and the transaction is there, only their site address has
the new long version, seems that everythingelse is intact
                                                                               update in v2
2021-07-22             From: mjd210eKd69BxG41sJD To: admin Subject: Re:

Thanks!
I am seeing the changes being reflectedas well.

 Thank you for providingthe new onion links.
                                                                    Re: Re: Re:
 2021-07-25         From: mjd210eKd69BxG41sJDTo: admin Subject: Re:
 Re: Re: Re: Re: Questionabout Motives
 Good day admin!
                                                               escrow account for the current
 With the recent increase in BTC to USD, should I setup a new
                                                                 BTC, which would equal
 value of $16k? The escrow account right now, is looking for .51
 $19.6k.

 Just wondering how you would recommend I proceed.

 2021-07-27         From: mjd210eKd69BxG41sJDTo: admin Subject: Re: Re: Re: Re:
 Re: Re: Re: Re: Question about Motives
 Please confirmthe new code: 35zwf8g4g4m
  http://qbbh5myjw3b610w5axz2clbsuwzivyplf64uxzc7t5kngatzbjljkkqd.onion

 2021-07-29          From: admin To: mjd210eKd69BxG41sJDSubject: Re: Re: Re: Re:
 Re: Re: Re: Re: Re: Question about Motives
 hi,

   I confirm.You can add bitcointo it and we can proceed

 2021-07-29          From: admin To: mjd210eKd69BxG41sJDSubject: Re: Re: Re: Re:
 Re: Re: Re: Re: Re: Questionabout Motives
 the btc to usd value fluctuates a lot it increases and decreases...
           Case 1:21-cr-00393-DNH Document 56-1 Filed 03/12/24 Page 9 of 16




 i suggest you let the escrow transaction as it is... if you create new transaction and btc value
changes then you need to create a new transactionand then new transactionand so on..
waisting your time...

if the btc value is higher when job is completed, we will returnyou the extra btc, like $600 or
whatever is more than the price

2021-07-2907:26:00 From: mjd210eKd69BxG41sJD To: admin Subject: Re: Re: Re: Re:
Re: Re: Re: Re: Re: Re: QuestionaboutMotives
                                                                                           account.
Nice. You should have seen that there was already .44 BTC 17.5k USD in that escrow

Would you like me to use the Order function for the job?
                                                                         you reccommend
Thaid has also reached out to me and mentionedhe could do the job. Would
I work directly with him or something else?
                                                                                that would be good.
 It just needs to look like an accident. So, whoever you have that is good at

 2021-07-29          From: admin To: mjd210eKd69BxG41sJDSubject: Re: Re: Re: Re:
 Re: Re: Re: Re: Re: Re: Re: QuestionaboutMotives
 yes, please use the order button and submit order.

  I recommend you dont work directly with Thaid, we currently have a better experienced and
 expert hitman that can do the job for that amount, and we will assign him on the job

  please submit order, I assign it to the expert hitman and we keep you updated

 2021-08-01            From: admin To: mjd210eKd69BxG41sJD Subject: Your order

 Hello ,

 We got the order and saved it in an encrypted form.

 Do you know how to get bitcoins, do you need any help with that?

 Looking forward to hear from you

Admin

2021-08-01             From: admin To: mjd210eKd69BxG41sJD Subject: Your order

Hello ,

We got the order and saved it in an encrypted form.
        Case 1:21-cr-00393-DNH Document 56-1 Filed 03/12/24 Page 10 of 16




Do you know how to get bitcoins, do you need any help with that?

Looking forward to hear from you

Admin

2021-08-02                Order

Image:
http://lj5ponocadanu2vi7012g705h5btsq17twh6vlmys6ejvgybbfp22kyd.onion/user/5ph868807f83j
k.jpg
OrderName: Christina Cordero
Address: 4097 NY-7, Hoosick Falls, NY 12090
Street:NULL
City: NULL
 Country: United States
 Other:NULL
 Send: 0.2249
                                                     & wife.
 OrderDescription: There are two orders... husband


 2021-08-02           n Order

  Image:
  http://lj5ponocadanu2vi7012g705h5btsq17twh6vlmys6ejvgybbfp22kyd.onion/user/hbsmz8807npr
 6w.jpg
 OrderName: Cisco Cordero
 Address: 4097 NY-7, Hoosick Falls, NY 12090
 Street: NULL
 City: NULL
 Country: United States
 Other: NULL
 Send: 0.2252
 OrderDescription:This is the 2nd order.


 2021-08-02           From: mjd210eKd69BxG41sJD To: admin Subject: Re: Your order

 Good day Admin!
                                                                                     They are a
 I have two orders, that I need to look like an accident, or a mugging gone wrong.
 husband and wife.

 http://qbbh5myjw3b610w5axz2clbsuwzivyplf64uxzc7t5kngatzbjljkkqdonion
 ViewCode: 35zwf8g4g4m
         Case 1:21-cr-00393-DNH Document 56-1 Filed 03/12/24 Page 11 of 16



  2021-08-02            From: mjd210eKd69BxG41sJD
                                                         To: admin Subject: Re: Your order
 Good day Admin,

 I have cancelled my orders.

 2021-08-03 08:59:00 From: admin To:
                                          mjd210eKd69BxG41sJD Subject: Your order
 Hello

 We got the order and saved it in an encryptedform.

 Do you know how to get bitcoins, do you need any help withthat?

 Looking forward to hear from you

 Admin

 2021-08-03 09:00:00 From: admin To: mjd210eKd69BxG41sJD Subject: Your order

 Hello ,

 We got the order and saved it in an encryptedform.

 Do you know how to get bitcoins, do you need any help with that?

 Looking forward to hear from you

 Admin

 2021-08-03           From: mjd210eKd69BxG41sJD To: admin Subject: Re: Your order

 http://qbbh5myjw3b610w5axz2clbsuwzivyplf64uxzc7t5kngatzbjljkkqd.onion

 Code: 35zwf8g4g4m

They have three children with them. Please make it look like an accident, or a mugging-gone-
wrong, or something of the sort.

2021-08-03             Order

Image:
http://lj5ponocadanu2vi7012g705h5btsq17twh6vlmys6ejvgybbfp22kydnnion/user/f2ra68807zwq8
sjpg
OrderName: Cisco Cordero
Address: 4097 NY-7,Hoosick Falls, NY 12090
          Case 1:21-cr-00393-DNH Document 56-1 Filed 03/12/24 Page 12 of 16



   Street:NULL
   City: NULL
   Country: United States
   Other: NULL
   Send: 0.2363
   OrderDescription: This is for a husband and wife. It needs to look like an accident.

  Either a mugging-gone-wrong, or something accidental.


  2021-08-03                Order
  Image:
  http://lj5ponocadanu2vi7012g705h5btsq17twh6vlmys6ejvgybbfp22kyd.onion/user/mfgf688077pqy
  u.jpg
  OrderName: Christina Cordero
  Address: 4097 NY-7, Hoosick Falls, NY 12090
  Street: NULL
  City: NULL
  Country: United States
  Other:NULL
  Send: 0.2358
  OrderDescription: This is for a husband and wife. It needs to look like an accident. Either a
  mugging-gone-wrong, or something accidental.


  2021-08-04            From: mjd210eKd69BxG41sJDTo: admin Subject: Re: Your order

 Good day Admin.
 Can you confirm you received my two orders?

 2021-08-04            From: mjd210eKd69BxG41sJDTo: admin Subject: Re: Your order
 Good day Admin,
 Ive submitted the same orders a couple times, but havent received any responses yet.

 Can you confirm youre seeing the orders come through?

2021-08-0510:18:00 From: admin To: mjd210eKd69BxG41sJD Subject: Your order

Hello ,

We got the order and saved it in an encrypted form.

Do you know how to get bitcoins, do you need any help with that?
        Case 1:21-cr-00393-DNH Document 56-1 Filed 03/12/24 Page 13 of 16




 Looking forward to hear from you

Admin

2021-08-05 10:20:00 From: admin To:
                                         mjd210eKd69BxG41sJDSubject: Your order
Hello

We got the order and saved it in an encryptedform.

Do you know how to get bitcoins, do you need any help with that?

Looking forward to hear from you

Admin

2021-08-05 10:21       From: mjd210eKd69BxG41sJDTo: admin Subject: Re: Your order

DarkEscrow Info:
 http://qbbh5myjw3b610w5axz2clbsuwzivyplf64uxzc7t5kngatzbjljkkqd.onion

Code: 35zwf8g4g4m

Please make it look like an accident, or a mugging-gone-wrong, or something of the sort.

2021-08-05               Order

Image:
http://lj5ponocadanu2vi7012g705h5btsq17twh6vlmys6ejvgybbfp22kydonion/user/6ze9h8807k9q

OrderName: Cisco Cordero
Address: 4097 NY-7, Hoosick Falls, NY 12090
Street: NULL
City: NULL
Country: United States
Other:NULL
Send: 0.2252
OrderDescription: This needs to look like an accident. Maybe a robbery-gone-wrong.

This order is for a husband and wife.


2021-08-05              Order
     Case 1:21-cr-00393-DNH Document 56-1 Filed 03/12/24 Page 14 of 16



 Image:
http://lj5ponocadanu2vi7012g705h5btsq17twh6vlmys6ejvgybbfp22kyd.onion/user/22djh8807bs1v
b.jpg
OrderName: Christina Cordero
Address: 4097 NY-7, Hoosick Falls,
                                   NY 12090
Street: NULL
City: NULL
Country: United States
Other: NULL
Send: 0.2261
OrderDescription: This needs to look like an accident. Maybea robbery-gone-wrong.


2021-08-05             From: mjd210eKd69BxG41sJD To: admin Subject: Checking In
After submitting my orders several times, I have yet to hear any response.

Is everything ok?

2021-08-07             From: mjd210eKd69BxG41sJD To: admin Subject: Not able to send
messages
Good day Admin.
I have yet to see any resopnpses from my messages to you.

I sent in several orders, and never heard anythingback, so I cancelled them.

It also looks like I can no longer send any messages to customers, etc. I even started a forum
board enquiry to see if anyone else is experiencing issues with sending PMS, but it has yet to be
approved.

2021-08-09        From: mjd210eKd69BxG41sJD To: admin Subject: Not able to send
PMS and no response from Admin

Would there be a valid reason why I am no longer able to send/receive PMs? Ive sent several
messages to the Admin, and other customers, but have not seen anything yet.


Payments - m6szsx2bw
Site: E
TXValue: 0.4422 to ICbb4J3jpM4W4hUEgbz737fmEzdrMJACJY at 2021-07-27
(-$16,486.06)
USD Total: -$16,486.06
       Case 1:21-cr-00393-DNH Document 56-1 Filed 03/12/24 Page 15 of 16



       Wallet


Correspondence - m6szsx2bw(Signup: 2021-07-27
        - green2
Report generated at 10-09-2021 12:00:37
Signup: 2021-07-27 09A3:oo
Last: 2021-08-13 1200:00
On Site: 17 days
Max Balance: 0.4422


Escrow Details
TransactionName: Transaction27.1
TXCreated: 2021-07-27
TransactionDescription:
TXFee: 0.0022
TXPrice: 0.44
TXTotal: 0.4422
TXPaid: 0.4422
SellerWallet: 128BTrqvivs6g6NpqMfiQdNnrAwnUFh97R
TXDuration: 30
CustomerWallet: bc1q0yxm42mf7nph46mx59dgkxefx0phancgwkz677
TXStatus: Funds secured in escrow. Seller must deliver


Escrow Details
TransactionName:Transaction27.1
TXCreated: 2021-07-27
TransactionDescription:
TXFee: 0.0022
TXPrice: 0.44
TXTotal: 0.4422
TXPaid: O
SellerWallet: 128BTrqvivs6g6NpqMfiQdNnrAwnUFh97R
TXDuration: 30
CustomerWallet:bc1q0yxm42mf7nph46mx59dgkxefx0phancgwkz677
TXStatus: Pending funds from customer.


Number of correspondents: I

To-From admin
        Case 1:21-cr-00393-DNH Document 56-1 Filed 03/12/24 Page 16 of 16



  2021-08-05 12:33:00 From: m6szsx2bw To: admin Subject: NULL

 A couple things.
  I. The refund address has changed, as this was tied to a wallet that got deleted with a computer
 crash. How can I update that? I was able to retore the wallet with the seed, but the receive
 address changed
 Can I update the refundaddress
 from

 2021-08-05 12:39:00 From: m6szsx2bw To: admin Subject: NULL

 My apologies. The restore brought the address back into listening. I dont need to update the
 refund address.

 Thanks!

 The seller never got back, so I guess Ill just need to wait the 30 days then?

 2021-08-0822:31:00 From: admin To: m6szsx2bw Subject: NULL

 We received the request to cancel the transaction.We are sending the funds back to customer

 2021-08-1022:26:00 From: m6szsx2bw To: admin Subject: NULL

 How long does it take for the funds to be refunded?

 I still have not seen the refund hit my account.

2021-08-1207:42:00From: m6szsx2bw To: admin Subject: NULL

How long does it take for the funds to be refunded? I still have not seen the refund hit my
account.

2021-08-1307:46:00From: m6szsx2bw To: admin Subject: NULL

Admin, do you know how long it takes funds to be returned?


       This page was last modifiedon 10 September 2021, at 11:02.
